                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

REBECCA R. BAKER,                            )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )
                                             )
HOMEGOODS, INC., THE TJX                     )
COMPANIES, INC., RP JACKSON                  )
PLAZA, LLC, RISE PARTNERS, LLC,              )
DBS CORPORATION, and ARTECH                  )
DESIGN GROUP, INC.,                          )
                                             )
       Defendants.                           )



                                   NOTICE OF REMOVAL



       Pursuant to 28 U.S.C. §§ 1332, 1441, 1446, HomeGoods, Inc., gives rise to removal of this

action from the Circuit Court of Putnam County, Tennessee, Docket No: 2020-CV-146, to the

United States District Court for the Middle District of Tennessee, Northeastern Division.

       As grounds for this removal, HomeGoods states as follows:

       1.      According to the Complaint, the Plaintiff Rebecca Baker is a resident of Greenville,

Kentucky.

       2.      Ms. Baker claims to have fallen and suffered injuries at a HomeGoods store in

Cookeville, TN when she tripped on a doorstop in the ladies’ room on August 17, 2019. (See

Complaint, ¶ 17) Further that Ms. Baker suffered serious and debilitating injuries. (Complaint, ¶

18)

       3.      HomeGoods is a foreign company doing business in Tennessee.




      Case 2:20-cv-00064 Document 1 Filed 10/13/20 Page 1 of 4 PageID #: 1
       4.       RP Jackson Plaza, LLC is the owner of the building located in Cookeville,

Tennessee (Complaint, ¶ 5)

       5.       Rise Partners, LLC is a Tennessee limited liability company who is a developer and

leasing agent. (Complaint ¶ 6)

       6.       DBS Corporation is general contractor that did work on the project and whose agent

is in Chattanooga Tennessee.

       7.       Artech Design Group, Inc. is the architect of the bathroom but the registered agent

Chattanooga Tennessee.

       8.       Plaintiff’s request compensatory damages in the amount of $750,000.

       9.       The Plaintiff is a resident of Kentucky and all other defendants are residents of

other states.   Therefore, complete diversity exists between the parties and the amount in

controversy is in excess of $75,000 in accordance with 28 U.S.C. § 1332. Accordingly, jurisdiction

is conferred under 28 U.S.C. §1332.

       10.      This case is an action over which the court has original jurisdiction under 28 U.S.C.

§1333 and is one which may be removed to the Court by defendant HomeGoods, pursuant to the

provisions of 28 U.S.C. §1441(a) and that it is a civil action brought in a state court of which the

District Court of the United States has original jurisdiction.

       11.      The last Defendant upon information and belief was served less than thirty (30)

days of the filing of this removal as set forth in 28 U.S.C. §1446(b).

       12.      Pursuant to 28 U.S.C. §1446(a), copies of all pleadings to date are attached as

Exhibit “A”.

       13.      HomeGoods will provide notice to the Plaintiff of this removal, through delivery

of a copy of the Notice of Removal to their counsel of record, and to the clerk of the Circuit Court




      Case 2:20-cv-00064 Document 1 Filed 10/13/20 Page 2 of 4 PageID #: 2
of Putnam County, through filing into the record therein a Notice of Filing Notice of Removal

pursuant to 28 U.S.C. §1446(b).

                                             Respectfully submitted,

                                             LUTHER - ANDERSON, PLLP


                                             BY:     /s/ Alaric A. Henry
                                                   ALARIC A. HENRY, BPR# 14885
                                                   Attorneys for HomeGoods and TJX
                                                   One Union Square, Suite 700
                                                   100 W. Martin Luther King Blvd.
                                                   Chattanooga, Tennessee 37402
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                                                   aah@lutheranderson.com



                                  CONSENT TO REMOVAL

       As required by 28 U.S.C. §1446(b)(2)(A) both HomeGoods, Inc., Rise Partners, LLC, DBS

Corporation and Artech Design Group, Inc. that have been served, consent to removal. The TJX

Companies, Inc. has been Nonsuited, if at the time of this filing they are not yet dismissed they

would also consent to removal. It is unknown if RP Jackson Plaza, LLC has been served and they

have no attorney of record. Therefore, no consent is required.

       WHEREFORE HomeGoods respectfully the requests this Court to take jurisdiction of

this action, and that this case be removed from the Circuit Court of Putnam County, State of

Tennessee to this court.




      Case 2:20-cv-00064 Document 1 Filed 10/13/20 Page 3 of 4 PageID #: 3
                                 CERTIFICATE OF SERVICE

        This is to certify that I have this day served the following named person with a true and
exact copy of this Notice of Removal by placing same in the United States Mail, addressed to said
counsel at his/her office with sufficient postage thereupon to carry the same to its destination at
the following address:

               Rebecca C. Blair
               The Blair Law Firm
               1608 Westgate Circle, Suite 100
               Brentwood, TN 37027

               Jefferson C. Orr
               Smith Cashion & Orr, PLC
               3100 West End Avenue
               Suite 800 - One American Center
               Nashville, TN 37203

               Raymond D. Lackey
               David J. Sneed & Associates
               6640 Carothers Parkway, Suite 200
               Franklin, TN 37067

               Mary Dee Allen
               Edward H. Trent
               Wimberly, Lawson, Wright, Daves & Jones, PLLC
               1420 Neal Street, Suite 201
               P.O. Box 655
               Cookeville, TN 38503-0655

               RP Jackson Plaza, LlC
               Register Agent: Geoffrey W. Smith
               Volunteer Building, Suite 507
               832 Georgia Avenue
               Chattanooga, TN 37402

       This 13th day of October, 2020.

                                             LUTHER - ANDERSON, PLLP


                                             BY:     /s/ Alaric A. Henry




      Case 2:20-cv-00064 Document 1 Filed 10/13/20 Page 4 of 4 PageID #: 4
